                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In Re:

Joseph G. DuMouchelle,                                        Chapter 11
a/k/a Joe G. DuMouchelle, and                                 Case No. 19-54531
Melinda J. Adducci,                                           Hon. Phillip J. Shefferly
a/k/a Lindy J. Adducci,

         Debtors.

                                          /


              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
                OF PAPERS AND TO BE ADDED TO BANKRUPTCY
                    MATRIX ON BEHALF OF JOHN RAGARD


TO: All parties in interest

         PLEASE TAKE NOTICE that Earle I. Erman of Maddin, Hauser, Roth &

Heller, P.C. hereby enters his appearance as counsel for John Ragard and, pursuant

to Bankruptcy Rule 2002, requests that all notices given or required to be given in

this matter and all papers served or required to be served in this matter be given to

and served upon him at the address and e-mail set forth below.

         PLEASE TAKE FURTHER NOTICE, that the foregoing request includes the

notices and papers referred to in Rule 2002 of the Bankruptcy Rules and also

includes, without limitation, notices of any orders, pleadings, motions, applications,

complaints, demands, hearings, requests or any of the foregoing and any other

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document brought before this Court with respect to these proceedings, whether

formal or informal, whether written or oral, and whether transmitted or conveyed by

mail delivery, telephone, telegraph, telex or otherwise.

                                 MADDIN, HAUSER, ROTH & HELLER, P.C.


                                 By:   /s/ Earle I. Erman
                                       Earle I. Erman (P24296)
                                       Attorneys for John Ragard
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DATED:        November 6, 2019




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